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                    EXHIBIT 3
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FD‑597(Rev 8‑11‑04)                                                                        pesc I               of
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                                    UNITED STATES DEPARTMENT OF JUS「                 ICE
                                      FEDERAL BUREAU OF INVESTICAT10N
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